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                      EXHIBIT 51
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  From:                                     Brooke Buchanan (CE CEN)
  Sent:                                     Tuesday, December 13, 2016 1:55 AM
  To:                                       Susan Andersen (CE CEN)
  Subject:                                  Re: Question from AP re: profit sharing irregularities at mid-Atlantic Whole Foods



  We are going to talk to the reporter tomorrow. Will keep you posted.

  Sent from my iPhone

  On Dec 12, 2016, at 5:03 PM, Susan Andersen (CE CEN) <susan.andersen@wholefoods.com > wrote:

          Any update? I've discussed with Roberta, John Hempfling, and our outside counsel.

          Susan G. Andersen
          Senior Labor and Employment Counsel
          Whole Foods Market
          550 Bowie Street
          Austin, TX 78703
          512-542-0389 tel
          512-482- 7389 fax
          susan.andersen@wholefoods.com



          CONFIDENTIALITY NOTICE:
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          From: Brooke Buchanan (CE CEN)
          Sent: Monday, December 12, 2016 3:52 PM
          To: Susan Andersen (CE CEN) <susan.andersen@wholefoods.com >
          Subject: FW: Question from AP re: profit sharing irregularities at mid-Atlantic Whole Foods

          FYI. Will touch base once I chat with Ken.

          From: Brooke Buchanan (CE CEN)
          Sent: Monday, December 12, 2016 3:47 PM
          To: David Lannon (CE CEN) <david.lannon@wholefoods.com >; Ken Meyer (CE REM)
          <Ken.Meyer@wholefoods.com >; Scott Allshouse (MA MAC) <Scott.Allshouse@wholefoods.com >
          Cc: Martin Tracey (CE CEN) <Martin.Tracey@wholefoods.com >; Betsy Harden (CE CEN)
          <Betsy.Harden@wholefoods.com >; Robin Rehfield Kelly (CE REM)
          <Robin.Rehfieldkelly@wholefoods.com >
          Subject: FW: Question from AP re: profit sharing irregularities at mid-Atlantic Whole Foods

          FYI. David/Ken, calling you.

          From: Robin Rehfield Kelly (CE REM)
          Sent: Monday, December 12, 2016 3:45 PM




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      To: Brooke Buchanan (CE CEN) <Brooke.Buchanan@wholefoods.com >
      Cc: Betsy Harden (CE CEN) <Betsy.Harden@wholefoods.com >
      Subject: Fwd: Question from AP re: profit sharing irregularities at mid-Atlantic Whole Foods




      Sent from my iPhone

      Begin forwarded message:

              From: "Barakat, Matthew" <mbarakat@ap.org>
              Date: December 12, 2016 at 3:42:41 PM CST
              To: " Robin.Rehfieldkelly@wholefoods.com " <Robin.Rehfieldkelly@wholefoods.com >
              Subject: Question from AP re: profit sharing irregularities at mid-Atlantic Whole Foods

              Ms. Kelly:

              My name is Matthew Barakat. I'm a reporter with Associated Press in northern Virginia.

              I am checking out some allegations that about 18 Whole Foods stores in the mid-
              Atlantic area have fired managers, and that lawsuits may be forthcoming, over improper
              actions by managers to manipulate a profit-sharing program at the company in a way
              that regular store employees were cheated out of shares that they may have deserved.

              I am just in the preliminary stages of my inquiry, but if you have any info about this that
              could clarify the situation, I would appreciate it.

              Thanks for considering.

              Matt Barakat
              Associated Press
              703-508-2855




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